     Case 1:23-cv-00527-LM-TSM       Document 15      Filed 12/03/24   Page 1 of 4




                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


STEPHANIE KELLY,                                )
                                                )
             Plaintiff                          )
      v.                                        )    Civil No. 1:23-cv-527-LM-TSM
                                                )
NH Attorney General, et al.                     )
                                                )
             Defendants.                        )



     OBJECTION TO MAGISTRATE’S REPORT AND RECOMMENDATIONS




NOW COMES Stephanie Kelly, pro se, and respectfully objects to the Magistrate’s
Report and Recommendation (Doc 11) filed September, 18, 2024. In further support
thereof it is stated:

   1. Plaintiff appears pro se and this pleading was drafted without the assistance
       of any professional counsel. Consequently, it should “be so construed as to do
       substantial justice.” Erickson v. Pardus, 551 U.S. 89, 94 (2007).

   2. The doctrine of “issue preclusion” or collateral estoppel bars only the re-
       litigation of specific issues that were actually decided in a previous case.
       Dennis v. RI Hosp. Trust Nat. Bank, 744 F. 2d 893, 899 (1st Cir. 1984).

   3. “For claim preclusion to apply the two actions must share four identities: ‘(1)
       identity of the thing sued for; (2) identity of the cause of action; (3) identity
       of persons and parties; and (4) identity of the quality [or capacity] of the
       persons for or against whom the claim is made.” Crowley Maritime
       Corporation v. National Union Fire Insurance Company of Pittsburg , PA.,
       3:16-cv-01011, (M.D. Fla. Feb. 8, 2018). Further, “The party [emphasis
       added] asserting claim preclusion has the burden of proving [emphasis added]
       that the four identities exist and that the matter was formally adjudicated on
       the merits.” Id.


                                          -1-
 Case 1:23-cv-00527-LM-TSM         Document 15   Filed 12/03/24    Page 2 of 4




4. The Florida District Court’s Order in Crowley was subsequently affirmed by
   the 11th Circuit in Crowley Mar. Corp. v. Nat’l Union Fire Ins. Co. of
   Pittsburgh, PA, 931 F.3d 1112 (11th Cir. 2019).

5. Plaintiff previously requested (Doc 13) that the Magistrate clarify who is the
   party claiming issue preclusion, but in her November 20, 2024 Order the
   Magistrate declined to do so.

6. Plaintiff also previously requested (Doc 13) that that the Magistrate identify
   who are the parties in this action for whom the doctrine of collateral estoppel
   allegedly applies, and any and all reason(s) why Plaintiff must bear the
   burden of proof to show that it does not, but in her November 20, 2024 Order
   the Magistrate declined to do so.

7. Further, “Collateral estoppel, or issue preclusion, applies when: ‘(1) the issue
   sought to be precluded in the later action is the same as that involved in the
   earlier action; (2) the issue was actually litigated; (3) the issue was
   determined by a valid and binding final judgment; and (4) the determination
   of the issue was essential to the judgment.” Latin Am. Music Co. v. Media
   Power Grp., Inc., 705 F.3d 34, 42 (1st Cir. 2013).

8. Plaintiff also previously requested (Doc 13) for the Magistrate also to clarify
   with specificity where in the state court record that is properly before this
   Court that the relevant issues before this Court were previously actually
   litigated and determined by a valid and binding final judgment. More
   specifically, the issues of (I) “whether NH RSA 633:3-a is unconstitutionally
   vague, both facially and as-applied, under the Fourteenth Amendment;” (II)
   “whether NH RSA 633:3-a is unconstitutionally over-broad, both facially and
   as-applied, under the Fourteenth Amendment;” (III) “whether NH RSA 173-
   B is unconstitutionally vague, both facially and as-applied, under the
   Fourteenth Amendment;” (IV) “whether NH RSA 173-B is unconstitutionally
   over-broad, both facially and as-applied, under the Fourteenth Amendment;”
   and (V) whether Judge Chabot acted in the complete absence of all subject
   matter jurisdiction – but in her November 20, 2024 Order the Magistrate
   declined to do so.

9. “[A] federal court [must] frame its orders so that those who must obey them
   will know what the court intends to require and what it means to forbid.

                                       -2-
  Case 1:23-cv-00527-LM-TSM      Document 15      Filed 12/03/24   Page 3 of 4




   Because the [Magistrate’s report] was not so framed, it cannot stand.”
   Longshoremen v. Philadelphia Marine Trade Assn., 389 U.S. 64, 76 (1967).

10. Further, if the Magistrate wished to assert that Plaintiff’s claims were
   barred by collateral estoppel or issue preclusion, she was required to have
   already done so in her initial report (Doc 5). Parties must raise objections at
   the earliest opportunity, and failure to do so can result in waiver of those
   objections. United States v. L.A. Tucker Truck Lines, Inc., 344 U.S. 33
   (1952).

11. Because the Magistrate did not even mention collateral estoppel or issue
   preclusion in her initial report (Doc 5), she subsequently waived her ability to
   do so in her second report (Doc 13). L.A. Tucker Truck Lines, 344 U.S. at 33.

12. Further, by the Magistrate’s logic, it would be impossible for anyone to
   challenge the constitutionality of a state statute in federal court. Indeed, by
   the Magistrate’s logic, all claims brought by the plaintiffs in Local 8027,
   AFT-New     Hampshire,     AFL-CIO       v.   NH   Department    of   Education,
   Commissioner (1:21-cv-01077) ought to have been automatically barred in
   this court under the doctrines of collateral estoppel or issue preclusion
   because of her belief such claims can only be litigated in state court.

13. For the foregoing reasons, there appear to be two entirely different legal
   standards in this court – one in which two very similar complaints
   challenging the constitutionality of a state statute are treated completely
   differently depending on whether or not they are prepared with the paid
   assistance of a member of the bar.

14. Consequently, Plaintiff now further respectfully questions whether there has
   been any substantive or procedural violation of Plaintiff’s Fourteenth
   Amendment procedural or substantive “due process” rights under color of LR
   4.3(d)(2) and 28 U.S.C. § 1915(e)(2) by the Magistrate. Cf. Neitzke v.
   Williams, 490 U.S. 319 (1989).

15. Plaintiff therefore respectfully requests that this Court, at this time, now
   clarify whether there has been any risk of bias in the Magistrate’s two reports
   (Doc 5 and Doc 13).




                                      -3-
    Case 1:23-cv-00527-LM-TSM       Document 15        Filed 12/03/24   Page 4 of 4




  16. “[T]he objective standards implementing the Due Process Clause do not
      require proof of actual bias.” Caperton v. AT Massey Coal Co., Inc. , 556 U.S.
      868, 129 S.Ct. 2252, 2255 (2009). “Rather, the question is whether, ‘under a
      realistic appraisal of psychological tendencies and human weakness,’ the
      [Magistrate’s] interest ‘poses such a risk of actual bias or prejudgment that
      the practice must be forbidden if the guarantee of due process is to be
      adequately implemented.’” Caperton at 2255.

  17. For the foregoing reasons, Plaintiff respectfully argues that the Magistrate
      has not offered any coherent reason that comports with Plaintiff’s procedural
      and substantive due process rights under the Fourteenth Amendment why
      Plaintiff’s claims cannot proceed.

  18. For the foregoing reasons, this Court should reject the Magistrate’s Report
      and Recommendations (Doc 11).




WHEREFORE, Plaintiff respectfully requests for this Court to:

  A) Reject the Magistrate’s Report and Recommendations consistent with ¶¶1-18
      as previously set forth.

  B) For other such relief as is just and equitable.



                                              Respectfully submitted,

                                              /s/ Stephanie Kelly
                                              __________________
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December 3, 2024.

                                        -4-
